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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    MARK A. LIZARRAGA, Bar #186240
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    JUSTIN DONALD LYNN
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )               No. 1:06-cr-0230 OWW
                                           )
12                     Plaintiff,          )               STIPULATION TO VACATE MOTIONS
                                           )               SCHEDULE; ADVANCE STATUS
13         v.                              )               CONFERENCE; AND ORDER
                                           )               THEREON
14   JUSTIN DONALD LYNN,                   )
                                           )               Date : November 6, 2006
15                     Defendant.          )               Time: 9:00 a.m.
     _____________________________________ )               Dept : Hon. Oliver W. Wanger
16
17          IT IS HEREBY STIPULATED by and between the parties hereto, and through their respective
18   attorneys of record herein, that the motions calendar in the above captioned matter may be vacated;
19          IT IS FURTHER STIPULATED by and between the parties hereto, and through their respective
20   attorneys of record herein, that the Status Conference scheduled for November 14, 2006 may be advanced
21   to November 6, 2006 at 9:00 a.m.
22          The parties agree that the delay resulting from the continuance shall be excluded in the interests of
23   justice, including but not limited to, the need for the period of time set forth herein for effective defense
24   ///
25   ///
26   ///
27   ///
28   ///
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1    preparation pursuant to 18 U.S.C. § 3161(h)(8)(A).
2            DATED: November 2, 2006                           MCGREGOR W. SCOTT
                                                               United States Attorney
3
4
5                                                              /s/ Marlon Cobar
                                                               MARLON COBAR
6                                                              Assistant U.S. Attorney
                                                               Attorney for Plaintiff
7
8
             DATED: November 2, 2006                          DANIEL J. BRODERICK
9                                                             Federal Defender
10
11                                                            /s/ Mark A. Lizarraga
                                                              MARK A. LIZÁRRAGA
12                                                            Assistant Federal Defender
                                                              Attorney for Defendant
13
14
15
                                                   ORDER
16
             IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C. §
17
     3161(h)(8)(B)(iv).
18
19
                                                   IT IS SO ORDERED.
20
     Dated: November 7, 2006                         /s/ Oliver W. Wanger
21   emm0d6                                     UNITED STATES DISTRICT JUDGE
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     Stipulation to Vacate Motions Schedule;
     Advance Status Conference                            2
